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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,
              PLAINTIFF,

v.                                                 CASE NO.       J.   I

CHRISTOPHER LEE YATES

              DEFENDANT.

                                        AFFIDAVIT


      1. On 03/01/18, YATES consented to a search of his vehicle. YATES advised SA Cox
         there would be stolen firearms in his vehicle. SA Cox conducted a search of the
         vehicle and yielded a firearm concealed in a book bag on the front passenger seat
         floorboard. The firearm was identified as a FNH, Model Five-Seven, 5.7x28 pistol,
         serial number 386214569.

      2. SA Cox queried ATF records and confirmed the above firearm was listed as disposed
         from the ATF NFAD in August 2017, thus confirming it was unlawfully removed
         from the ATF NFAD facility.

      3. An inspection of the firearm indicates it meets the definition of a firearm and has
         traveled in interstate commerce.


      4. SA Cox test fired the weapon and it proved operable.




                                                  Special Agent Seth Cox
                                           Bureau of Alcohol, Tobacco, Firearms & Explosives



Sworn to and subscribed to me this 3rd day of March, 2019.




                                               ROB RT W. RUMBLE
                                               UNITED STATES MAGISTRATE JUDGE
